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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  FRACTUS, S.A.,

                  Plaintiff,                                  JURY TRIAL DEMANDED


  v.

  AT&T MOBILITY LLC,                                         Case No. 2:18-cv-00135-JRG

                  Defendant,                                          LEAD CASE

  SPRINT COMMUNICATIONS COMPANY,
  L.P., ET AL.,                                              Case No. 2:18-cv-00136-JRG
                  Defendants,

  T-MOBILE US, INC., ET AL.,
                                                             Case No. 2:18-cv-00137-JRG
                  Defendants,

  CELLCO PARTNERSHIP D/B/A VERIZON
  WIRELESS,                                                  Case No. 2:18-cv-00138-JRG
            Defendant,

  COMMSCOPE TECHNOLOGIES LLC and
  CELLMAX TECHNOLOGIES AB,
           Intervenor-Defendants.


                       THIRD AMENDED DOCKET CONTROL ORDER

        In accordance with the scheduling conference held in this case, it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court:

        Current                Amended
         Date                  DCO Date                                Event

  September 9, 2019                           *Jury Selection — 9:00 a.m. in Marshall, Texas
                                              before Judge Rodney Gilstrap
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       Current         Amended
        Date           DCO Date                                Event

  August 14, 2019                     *Pretrial Conference — 9:00 a.m. in Marshall, Texas
                                      before Judge Rodney Gilstrap
  August 7, 2019                      *Notify Court of Agreements Reached During Meet
                                      and Confer

                                      The parties are ordered to meet and confer on any
                                      outstanding objections or motions in limine. The
                                      parties shall advise the Court of any agreements
                                      reached no later than 1:00 p.m. three (3) business days
                                      before the pretrial conference.
  August 5, 2019                      *File Joint Pretrial Order, Joint Proposed Jury
                                      Instructions, Joint Proposed Verdict Form, Responses
                                      to Motions in Limine, Updated Exhibit Lists, Updated
                                      Witness Lists, and Updated Deposition Designations
  July 29, 2019                       *File Notice of Request for Daily Transcript or Real
                                      Time Reporting.

                                      If a daily transcript or real time reporting of court
                                      proceedings is requested for trial, the party or parties
                                      making said request shall file a notice with the Court
                                      and e-mail the Court Reporter, Shelly Holmes, at
                                      shelly_holmes@txed.uscourts.gov.
  July 24, 2019                       File Motions in Limine

                                      The parties shall limit their motions in limine to issues
                                      that if improperly introduced at trial would be so
                                      prejudicial that the Court could not alleviate the
                                      prejudice by giving appropriate instructions to the
                                      jury.
  July 22, 2019                       Serve Objections to Rebuttal Pretrial Disclosures
  July 15, 2019                       Serve Objections to Pretrial Disclosures; and Serve
                                      Rebuttal Pretrial Disclosures
  July 1, 2019                        Serve Pretrial Disclosures (Witness List, Deposition
                                      Designations, and Exhibit List) by the Party with the
                                      Burden of Proof
                    August 22, 2019   Response briefs to any motions related to expert report
                                      supplementation solely with respect to discovery taken
                                      from Amphenol Corporation. Response briefs shall be

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       Current        Amended
        Date          DCO Date                                   Event

                                         limited to no more than 7 pages. No replies or
                                         surreplies shall be permitted absent leave of Court.
  June 3, 2019     August 16, 2019
                   (for opening briefs
                   of no more than
                   seven (7) pages on    *File Motions to Strike Expert Testimony (including
                   any Daubert issues    Daubert Motions)
                   related to expert
                   report                No motion to strike expert testimony (including a
                   supplementation       Daubert motion) may be filed after this date without
                   solely with respect   leave of the Court.
                   to discovery taken
                   from Amphenol
                   Corporation)

                   August 9, 2019
                   (for any follow-up
                   depositions related
                   to expert report
  May 30, 2019     supplementation     Deadline to Complete Expert Discovery
                   solely with respect
                   to discovery taken
                   from Amphenol
                   Corporation)

                   July 30, 2019
                   (for any
                   supplementation
                   of Defendants’
                   rebuttal expert
  May 13, 2019                         Serve Disclosures for Rebuttal Expert Witnesses
                   reports solely with
                   respect to
                   discovery taken
                   from Amphenol
                   Corporation)

  April 22, 2019   July 16, 2019         Serve Disclosures for Expert Witnesses by the Party
                                         with the Burden of Proof


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        Current            Amended
         Date              DCO Date                                  Event

                        (for any
                        supplementation
                        of Fractus’s expert
                        report solely with
                        respect to
                        discovery taken
                        from Amphenol
                        Corporation)

  April 15, 2019        July 12, 2019
                        (for third-party
                        discovery solely      Deadline to Complete Fact Discovery and File Motions
                        with respect to       to Compel Discovery
                        Amphenol
                        Corporation)
 (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
 shown merely by indicating that the parties agree that the deadline should be changed.

        The parties have not requested changing any deadline bearing a (*).


                               ADDITIONAL REQUIREMENTS

        Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
 mediator or indicates that no agreement was reached. If the parties do not reach an agreement, the
 Court will appoint a mediator. The parties should not file a list of mediators to be considered by
 the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
 completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. For expert-related motions, complete digital copies of the
 relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive. These
 copies shall be delivered as soon as briefing has completed.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.



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         Motions for Continuance: The following excuses will not warrant a continuance nor
 justify a failure to comply with the discovery deadline:

     (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

     (b)     The fact that one or more of the attorneys is set for trial in another court on the same
             day, unless the other setting was made prior to the date of this order or was made as a
             special provision for the parties in the other case;

     (c)     The failure to complete discovery prior to trial, unless the parties can demonstrate that
             it was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
 version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”




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